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Case 7:08-cr-00294-SCR Document 1 Filed 04/04/2(

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08 Page 3 of 6

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08 Page 4 of 6

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08 Page 5 of 6

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Case 7:08-cr-00294-SCR Document91 Filed 04/04/2 08 Page 6 of 6

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